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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

          Plaintiff,                                         Case No. 01-80571

v.                                                           Honorable John Corbett O’Meara

MILTON “BUTCH” JONES, et al.,

          Defendants.
                                         /

                       OPINION AND ORDER REGARDING SEVERANCE

      This matter came before the court on defendant Milton "Butch" Jones's February 13, 2004

renewed motion for severance; his February 19, 2004 Motion for Severance of Defendants at

Penalty Phase; and defendant Raymond Canty's February 27, 2004 motion for severance. The

government filed responses December 16 and 17, 2004. Oral argument was heard January 21, 2005.

      Rule 8(b) of the Federal Rules of Criminal Procedure permits the government to charge two

or more defendants in an indictment "if they are alleged to have participated in the same act or

transaction, or in the same series of acts or transactions constituting an offense or offenses." Rule

14, however, permits relief from prejudicial joinder as follows:

                If the joinder of offenses and defendants in an indictment, an
                information, or a consolidation for trial appears to prejudice a
                defendant or the government, the court may order separate trials of
                counts, sever the defendants' trials, or provide any other relief that
                justice requires.

      The United States Supreme Court has advised that "a district court should grant a severance

under Rule 14 only if there is a serious risk that a joint trial would compromise a specific trial right

of one of the defendants, or prevent the jury from making a reliable judgment about guilt or
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innocence," and that "less drastic measures, such as limiting instructions, often will suffice to cure

any risk of prejudice." Zafiro v. United States, 506 U.S. 534, 539 (1993).

      In this case the court has considered Defendants' arguments regarding the issue of severance

and finds that a trial involving all three defendants poses a serious risk of compromising specific

trial rights of the defendants. The prejudice to the defendants is not likely to be purged by special

instructions to the jury. The ends of justice require that defendant Jones be severed from defendants

Canty and Mitchell. Therefore, the court will grant defendant Jones's motion for severance.

                                              ORDER

      It is hereby ORDERED that defendant Jones's February 13, 2004 motion for severance

[Docket No. 381] is GRANTED.

      It is further ORDERED that defendant Jones's February 19, 2004 motion for severance at the

penalty phase [Docket No. 382] is DENIED AS MOOT.

      It is further ORDERED that defendant Canty's February 27, 2004 motion for severance

[Docket No. 399] is DENIED AS MOOT.



                 s/John Corbett O'Meara
                 John Corbett O'Meara
                 United States District Judge


Dated: October 5, 2005




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